Case 2:18-cv-09631-SSV-KWR Document 6-2 Filed 11/05/18 Page 1of1

JS 44 (Rev. 06/17)

The JS 44 civil cover sheet and the information contained herein neither
provided by local rules of court. This form, approved by the Judicial Co:

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CIVIL COVER SHEET

Plement the filing and service of pleadings or other papers as req
rence of the United States in September 1974, is required for the use of the
initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

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lerk of Court for the

I. (a) PLAINTIFFS Sco.) Lux

(b) County of Residence of First Listed Plaintiff Ocleans

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attomeys (Firm Name, Address, and Telephone Number)

Svosan Luiz New Scleans, LA

\AOa Wilton De. Cour es 7-404]

DEFENDANTS Wonosalble Sandca Wilson , Pd
vn nec official cagpactty as Rearstrar
6 Nevers, Orleans Parish, LA

County of Residence of First Listed Defendant Oc\leans

(IN U.S. PLAINTIFF CASES ONLY)
NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
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Attorneys (If Known) | B oa Q G
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II. BASIS OF JURISDICTION (Place an “X”" in One Box Only) HI. CITIZENSHIP OF PRINCIPAL PARTIES (Place an Ba
(For Diversity Cases Only) and One Box for Defendant)
Ol US. Government ws Federal Question wy iy PTF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State l 1 Incorporated or Principal Place o4 04
of Business In This State
02 US. Government O04 Diversity Citizen of Another State G2 O 2 Incorporated and Principal Place O5 a5
Defendant (Indicate Citizenship of Parties in Item 11) of Business In Another State
Citizen or Subject of a O 3 O 3 Foreign Nation o6 O86
Foreign Country
IV. NATURE OF SUIT (Piece an “Xx” in One Box Only) Click here for: Nature of Suit Code Descriptions.
CONTRACT TORTS. FORFEIFURE/PENALTY BANKRUPTCY OTHER Soutat ES J]
CO 110 Insurance PERSONAL INJURY PERSONALINJURY |0 625 Drug Related Seizure G 422 Appeal 28 USC 158 © 375 False Claims Act
© 120 Marine © 310 Airplane ©) 365 Personal Injury - of Property 21 USC 881 | 423 Withdrawal O 376 Qui Tam (31 USC
OG 130 Miller Act 315 Airplane Product Product Liability © 690 Other 28 USC 157 3729(a))
© 140 Negotiable Instrument Liability OG 367 Health Care/ © 400 State Reapportionment
© 150 Recovery of Overpayment ]( 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS jC} 410 Antitrust
& Enf of Judgr Slander Personal Injury © 820 Copyrights © 430 Banks and Banking
151 Medicare Act © 330 Federal Employers’ Product Liability © 830 Patent O 450 Commerce
O 152 Recovery of Defaulted Liability CG 368 Asbestos Personal © 835 Patent - Abbreviated 0 460 Deportation
Student Loans CG 340 Marine Injury Product New Drug Application ]() 470 Racketeer Influenced and
(Excludes Veterans) © 345 Marine Product Liability _. 0 840 Trademark Corrupt Organizations
CO 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR © 480 Consumer Credit
of Veteran's Benefits O 350 Motor Vehicle © 370 Other Fraud O 710 Fair Labor Standards OG 861 HIA (1395ff) © 490 Cable/Sat TV
1 160 Stockholders’ Suits © 355 Motor Vehicle 6 371 Truth in Lending Act 6 862 Black Lung (923) 1 850 Securities/Commodities/
190 Other Contract Product Liability © 380 Other Personal 0 720 Labor/Management O 863 DIWC/DIWW (405(g)) Exchange
0 195 Contract Product Liability ]0 360 Other Personal Property Damage Relations 0 864 SSID Title XVI G 890 Other Statutory Actions
(9 196 Franchise Injury (1 385 Property Damage _—«4| 0: 740 Railway Labor Act 0) 865 RSI (405(g)) © 891 Agricultural Acis
© 362 Personal Injury - Product Liability O 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act G 895 Freedom of Information
[ REAL PROPERTY CIVIL RIGHTS PRISONER PETITIONS [0 790 Other Labor Litigation FEDERAL TAX SUITS Act
O 210 Land Condemnation wf 440 Other Civil Rights Habeas Corpus: O 791 Employee Retirement © 870 Taxes (U.S. Plaintiff © 896 Arbitration
GO 220 Foreclosure G 441 Voting OD 463 Alien Detainee Income Security Act or Defendant) 6 899 Administrative Procedure
© 230 Rent Lease & Ejectment CG 442 Employment & $10 Motions to Vacate O 871 IRS—Third Party Act/Review or Appeal of
© 240 Torts to Land 1 443 Housing/ Sentence 26 USC 7609 Agency Decision
© 245 Tort Product Liability Accommodations © 530 General OF 950 Constitutionality of
© 290 All Other Real Property © 445 Amer. w/Disabilities -| (7 535 Death Penalty IMMIGRATION State Statutes
Employment Other: O 462 Naturalization Application
O 446 Amer. w/Disabilities -] 7 540 Mandamus & Other [0 465 Other Immigration
Other OC 550 Civil Rights Actions
G 448 Education O 555 Prison Condition
O 560 Civil Detainee -
Conditions of
Confinement
V, ORIGIN (Piace an "x" in One Box Only)
1 Original O12 Removed from OG 3 + Remanded from 0 4 Reinstatedor © 5 Transferred from O 6 Multidistrict 6 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File
Cite the U.S. Civil oe on “en a4 = filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION Brief description of cause:

PlarnkiS$'s vexing Cralnts suspended uniust\y

VIL REQUESTED IN O07 CHECK IF THIS IS A CLASS ACTION >

DEMAND $ CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23,FRCvP. Ro\ve€ deemed Ws + RESPES pRy PeMany: O Yes OGNo
VI. RELATEDCASE(S) ~ aN

IF ANY (Seeinsiruction): ange DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD

yoNs\is AN OCT 16 2018
‘FOR OFFICE USE ONLY Y
RECEIPT # AMOUNT APPLYING IFP JUDGE U.S. DISTRICT CART
of Louisiana

Deputy Clerk
